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 1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
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 2   YOO & GOLUBCHIK L.L.P.
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 4   Telephone: (310) 229-1234
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 6

 7   Attorneys for Chapter 11
     Debtor and Debtor in Possession
 8

 9                          UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
10                                LOS ANGELES DIVISION

11   In re:                                           )   Case No.: 2:22-bk-10266-BB
                                                      )   Chapter 11 Case
12   ESCADA AMERICA LLC,                              )   Subchapter V
                                                      )
13                                                        EMERGENCY MOTION FOR ORDER
               Debtor and Debtor in Possession.       )
                                                      )   AUTHORIZING DEBTOR TO (I) PAY
14                                                        PREPETITION PRIORITY WAGES,
                                                      )   COMMISSIONS, AND BONUSES; AND
15                                                    )   (II) HONOR ACCURED VACATION
                                                      )   AND LEAVE BENEFIT IN THE
16                                                    )   ORDINARY COURSE OF BUSINESS;
                                                      )   MEMORANDUM OF POINTS AND
17                                                        AUTHORITIES
                                                      )
18                                                    )   Master Statement of Facts and
                                                      )   Declaration of Kevin Walsh Filed
19                                                    )   Separately and Concurrently
                                                      )
20                                                    )   Hearing:
                                                      )   Date: January 20, 2022
21                                                        Time: 10:00 a.m.
                                                      )
22                                                    )   Place: Courtroom 1539
                                                      )           255 East Temple Street
23                                                    )           Los Angeles, CA 90012
                                                      )   Hearing to be held in-person and by video-
24                                                    )   conference Government Zoom, see Court’s
                                                      )   website under “Telephonic Instructions” for
25                                                        more details:
                                                      )
26                                                    )   https://www.cacb.uscourts.gov/judges/honor
                                                      )   able-sheri-bluebond
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 1                                                  SUMMARY

 2           Pursuant to Rules 2081-1(a) and 9075-1(a) of the Local Bankruptcy Rules of the United

 3   States Bankruptcy Court for the Central District of California (the “Local Rules”), 11 U.S.C. §§

 4   361, 363, and 507(a)(4), Escada America LLC, a Delaware limited liability company (the

 5   “Debtor”), the debtor and debtor in possession in the above-captioned, chapter 11 bankruptcy

 6   case, hereby moves, on an emergency basis (the “Motion”), for the entry of an order authorizing

 7   the Debtor to: (1) pay prepetition priority wages, salaries, commissions and bonuses1 and (2)

 8   honor, but not pay, prepetition accrued vacation and leave benefits in the ordinary course of

 9   business, provided any accrued benefits shall be honored only when due and further that no

10   employee shall receive in value over $13,650 on account of the foregoing prepetition claims.

11   The Debtor is not seeking authority to pay the prepetition priority wages of any “insiders”;

12   approval to pay “insider” compensation will be sought pursuant to Notices of Setting Insider

13   Compensation which have been, or will be, filed with the United States Trustee.

14           The relief requested in this Motion is based on this Motion, the memorandum of points

15   and authorities annexed to the Motion, and the Master Statement of Facts and Master Declaration

16   of Kevin Walsh (the “Declaration”) filed separately in support of the Motion.

17           The Debtor commenced its bankruptcy case by filing a voluntary petition under chapter

18   11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor continues to

19   manage its financial affairs, operate its business, and administer its bankruptcy estate as a debtor

20   in possession.

21           The Debtor employs over 50 employees and independent contracts whose services to the

22   Debtor account for at least 75% of their wages (collectively referred to herein as “employees”).

23   All of the employees to which the Debtor seeks to pay Prepetition Payroll for the prepetition

24   period are still employed by the Debtor.             The Debtor submits that approval to honor the

25

26   1
       The payment of prepetition priority wages, salaries, commissions, and bonuses will include payment of all
     applicable federal and state withholding taxes and payroll taxes, workers compensation contributions, medical
27   benefits contributions, payroll service fees, and matching retirement plan contributions.

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 1   Prepetition Payroll for the Prepetition Period, including all federal and state withholding taxes,

 2   payroll taxes, employer matching 401(k) contributions, and payroll service fees, will not render

 3   the estate administratively insolvent.     The Debtor’s employees are integral to the Debtor’s

 4   continued operation and the generation of revenue, while preserving the value of the estate. In

 5   short, the Debtor cannot continue to operate and reorganize without the employees. If the Debtor

 6   does not continue to pay its employees their ordinary and earned wages, salaries, commissions,

 7   and bonuses, the employees will likely quit. Without employees, the Debtor’s operations and the

 8   value of its business will be severely impaired, if not eviscerated altogether. The source of the

 9   funds to be used to honor and pay the Prepetition Payroll is the Debtor’s cash, which is the cash

10   collateral of secured creditors. The Debtor has submitted a budget and motion for court authority

11   to use cash collateral to pay the Prepetition Payroll.

12                                   ADDITIONAL INFORMATION

13          This Motion is based upon Local Bankruptcy Rules 2081-1(a) and 9075-1 and 11 U.S.C.

14   §§ 105(a), 363 and 507(a)(4), the supporting Memorandum of Points and Authorities, and the

15   Master Statement of Facts and Declaration of Kevin Walsh filed separately and concurrently

16   herewith, the arguments and statements of counsel to be made at the hearing on the Motion, and

17   other admissible evidence properly brought before the Court. The Debtor submits that the

18   setting of the hearing on this Motion on an emergency basis is warranted given the critical need

19   to continue operations of the business as a going concern without disruption to the payment of

20   employees.

21          In order to provide maximum notice of this Motion, concurrently with the filing of this

22   Motion with the Court, the Debtor served by overnight mail a copy of this Motion and all

23   supportive papers upon the Office of the United States Trustee, secured creditors, and the

24   Debtor’s 20 largest unsecured creditors.

25          A proposed order is attached as Exhibit “A” hereto.

26          WHEREFORE, the Debtor respectfully requests that the Court enter an order:

27          (a)       affirming the adequacy of the notice given;

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 1          (b)      authorizing the Debtor to pay and/or honor all prepetition wages, salaries,

 2   commissions, and bonuses for the prepetition period, including the Debtor’s matching

 3   contributions to the employees’ 401(k) plans, all applicable workers compensation

 4   contributions, medical benefit contributions, federal and state withholding taxes, payroll taxes,

 5   and payroll service fees;

 6          (c)      authorizing the Debtor to honor, but not pay at this time, accrued vacation and

 7   leave benefits by allowing employees to take their accrued vacation or leave time in the

 8   ordinary course of business, provided that no employee shall receive in value over $13,650 on

 9   account of prepetition claims for wages, salaries, commissions, bonuses and vacation and leave

10   benefits; and

11          (d)      granting such other and further relief as the Court deems just and proper.

12   Dated: January 18, 2022                       ESCADA AMERICA LLC
13
                                            By: ___/s/ John-Patrick M. Fritz_____
14                                                JOHN-PATRICK M. FRITZ
                                                  LEVENE, NEALE, BENDER,
15                                                YOO & GOLUBCHIK L.L.P.
                                                  Attorneys for Chapter 11
16
                                                  Debtor and Debtor in Possession
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                    I.   STATEMENT OF FACTS

 3          The Debtor refers to and incorporates as though set forth in full here the separately and

 4   concurrently filed Master Statement of Facts and Kevin Walsh Declaration filed separately and

 5   concurrently in support of this Motion. Unless otherwise stated with specificity or implied by

 6   context, capitalized defined terms used in this Motion have the same meanings as attributed to

 7   them in the Master Statement of Facts.

 8                                         II.    DISCUSSION

 9   A.     LEGAL STANDARD FOR PAYMENT OF PREPETITION PRIORITY WAGES.

10          Pursuant to section 105(a) of the Bankruptcy Code, “the court may issue any order,

11   process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

12   The basic purpose of section 105(a) is “to assure the bankruptcy courts power to take whatever

13   action is appropriate or necessary in aid in their jurisdiction.” 2 Collier on Bankruptcy ¶ 105.01

14   at 105-3 (15th ed. rev. 1998). Essentially, section 105(a) codifies the bankruptcy court’s inherent

15   equitable powers. See Green v. Drexler (In re Feit & Drexler, Inc.), 760 F.2d 406 (2d Cir. 1985).

16          Where business exigencies require, courts have authorized debtors to pay the prepetition

17   claims of particular creditors. In re Ionosphere Clubs, Inc., 98 B.R. l74 (Bankr. S.D.N.Y.l989).

18   The “Necessity of Payment Rule” empowers a court to authorize a debtor to pay prepetition

19   claims essential to continued operations. Id. at l75-76 (citing Miltenberger v. Logansport, C. &

20   S. W .R. Co., 106 U.S. 286 (1882)).

21                  The “necessity of payment” doctrine permits immediate payment
22                  of claims of creditors where those creditors will not supply
                    services or materials essential to the conduct of the business until
23                  their pre-reorganization claims have been paid.

24
     Ionosphere Clubs, 98 B.R. at 176 (quoting In re Leigh and New England Railway Company, 657
25
     F.2d 570, 581 (3rd Cir. 1981)). This rule applies in all chapter 11 cases because “the rationale
26
     for the necessity of payment rule, i.e., facilitating the continued operation and rehabilitation of
27
     the debtor . . . is . . . a paramount goal of chapter 11.” Ionospere Clubs, 98 B.R. at 176 (citing
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 1   Dudley v. Mealey, 147 F.2d 268 (2d Cir. 1945)). Therefore, where continued operation and

 2   rehabilitation of the debtor require payment of prepetition wages, the Court may authorize such

 3   payment under Sections 363(b) and/or 105(a) of the Bankruptcy Code.

 4          In Armstrong World Industries, Inc. v. James A. Phillips, Inc. (In re James A. Phillips,

 5   Inc.), 29 B.R. 391, 394 (S.D.N.Y. 1983), the district court recognized the “special status” of

 6   suppliers holding unstayed lien rights, and authorized the debtor to pay their claims in the

 7   ordinary course of its business activities. See also Dave Noake, Inc. v. Harold’s Garage, Inc. (In

 8   re Dave Noake, Inc.), 45 B.R. 555 (Bankr. D. Vt. 1984) (rejecting challenge under section 549 to

 9   post-petition payments made to creditor holding lien rights under local law). Similarly, one

10   former bankruptcy judge has recognized that when “confronted with special circumstances

11   . . . particularly in the early stages of the case, a court may preserve the potential for

12   rehabilitation.” Ordin, Finality of Order of Bankruptcy Court, 54 Am. Bankr. L.J. 173 (1980).

13          In In re Gulf Air, Inc., 112 Bankr. 152 (Bankr. W.D. La. 1989), the court noted that cases

14   decided both under the Act and the Code have recognized the “necessity of payment” doctrine

15   under which payment of prepetition employee claims is authorized prior to the time a plan of

16   reorganization is confirmed so long as absent such payment there is a risk that the services of key

17   employees will be lost to the debtor and without such employees, the debtor’s going concern

18   value will be impaired. Id. at 153.

19   B.     SUFFICIENT EVIDENCE HAS BEEN PROVIDED TO GRANT THE RELIEF
20          REQUESTED HEREIN.

21          Local Bankruptcy Rule 2081-1(b)(2)(f) provides that motions to pay prepetition payroll
22   and to honor prepetition employment procedures must be supported with evidence that
23   establishes:
24
                    (i)     The employees are still employed;
25                  (ii)    The necessity for payment;
                    (iii)   The benefit of the procedures;
26                  (iv)    The prospect of reorganization;
                    (v)     Whether the employees are insiders;
27

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 1                  (vi)    Whether the employees’ claims are within the limits established by 11
                            U.S.C. § 507; and that
 2                  (vii)   The payment will not render the estate administratively insolvent.
 3
            The foregoing factors are discussed individually below:
 4
            1.      The employees are still employed. As set forth in the Declaration, all employees
 5
     to whom the Debtor seeks to pay prepetition priority wages, salaries, commissions and bonuses
 6
     are still employed by the Debtor.
 7
            2.      The necessity for payment. As set forth in the Declaration, the Debtor believes
 8
     that significantly all of its employees will quit if they are not paid their wages, salaries,
 9
     commissions, bonuses, and benefits in full in a timely fashion. Additionally, if the employees
10
     quit, the Debtor’s business operations will suffer and the preservation of value of the estate will
11
     be impaired.
12
            None of these employees are insiders. These amounts represent the total gross amount
13
     of prepetition payroll, including workers compensation contributions, medical benefit
14
     contributions, federal and state withholding taxes, and payroll taxes, and service fees to APD
15
     (the payroll processing company). A schedule listing an example recent gross prepetition
16
     payroll is attached as Exhibit “2” to the Declaration filed concurrently herewith (names have
17
     been redacted for privacy but will be available to the Court, Trustee, and the Office of the
18
     United States Trustee upon request). The Prepetition Payroll that are the subject of the Motion
19
     are substantially the same as Exhibit 2.
20
            The Debtor must retain current employees to continue its business operations and
21
     preserve and maximize the value of its assets during this case. The Debtor’s personnel are
22
     familiar with the Debtor’s business and operations, and, thus, essential to the preservation of the
23
     Debtor as a going-concern business. Therefore, the Debtor’s failure to pay prepetition wages,
24
     salaries, commissions, and bonuses to its employees and to honor the employees’ right to use
25
     accrued vacation and leave benefits will likely result in severe disruptions to the Debtor’s
26
     operations to the detriment of the creditors of the estate. The Debtor’s ability to preserve the
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 1   estate depends upon the Debtor’s continued operations, which cannot occur without the efforts of

 2   these employees.

 3           3.     The benefit of the procedures. In order to attract and retain employees, the Debtor

 4   maintains what it believes to be competitive and reasonable vacation and leave benefits policies.

 5   The Debtor believes that maintaining good relationships with, and the morale of, the employees

 6   requires continuing to honor vacation and leave policies currently in effect for the Debtor’s

 7   existing employees. By this Motion, the Debtor is seeking to honor these policies post-petition in

 8   order to allow employees to take their accrued vacation or leave time in the ordinary course of

 9   business but are not seeking to make any actual payments to employees for accrued vacation and

10   leave time.

11           4.     The prospect of reorganization. The Debtor believes that, through this chapter 11

12   case, it will be able to address its financial issues and pursue an effective financial restructuring

13   strategy, including a chapter 11 plan.

14           5.     Whether the employees are insiders. The Debtor is not seeking authority to pay the

15   prepetition priority wages of any “insiders.” Approval to pay insider compensation will be sought

16   pursuant to Notices of Setting Insider Compensation, which will be filed with the United States

17   Trustee.

18           6.     Whether the employees’ claims are within the limits established by 11 U.S.C. §

19   507. As set forth in the Declaration filed concurrently herewith, all of the employees’ claims are

20   within the $13,650 limit established by 11 U.S.C. § 507(a)(4), even with the addition of federal and

21   state withholding taxes, payroll taxes, and payroll service fees. Notwithstanding the foregoing, the

22   Motion expressly provides that no employee shall receive in value over $13,650 on account of

23   prepetition priority claims for wages, salaries, commissions, and bonuses, and vacation or leave

24   benefits.

25           7.     The payment will not render the estate administratively insolvent. The Debtor

26   asserts that the secured creditors adequately protected, as explained more fully in the Debtor’s

27   motion for use of cash collateral filed concurrently herewith. To the extent that there is any

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 1   shortfall, the Debtor will use a post-petition financing facility, as explained in the cash collateral

 2   motion, to cover any shortfall. Thus, the Debtor’s submit that approval to honor the employees’

 3   wages, salaries, commissions, and bonuses for the prepetition period, including all federal and

 4   state withholding taxes, payroll taxes, employer matching 401(k) contributions, and payroll

 5   service fees, will not render the estate administratively insolvent.

 6                                         III.    CONCLUSION

 7          Based on the foregoing, the Debtor submits that approval by this Court of the Motion is

 8   in the best interests of the Debtor’s estate and respectfully requests that the Court enter an order:

 9          (a)      affirming the adequacy of the notice given;

10          (b)      authorizing the Debtor to pay and/or honor all prepetition wages, salaries,

11   commissions, and bonuses for the prepetition period, including the Debtor’s matching

12   contributions to the employees’ 401(k) plans, all applicable workers compensation contributions,

13   medical benefit contributions, federal and state withholding taxes, payroll taxes, and payroll

14   service fees;

15          (c)      authorizing the Debtor to honor, but not pay at this time, accrued vacation and

16   leave benefits by allowing employees to take their accrued vacation or leave time in the ordinary

17   course of business, provided that no employee shall receive in value over $13,650 on account of

18   prepetition claims for wages, salaries, commissions, bonuses, and vacation and leave benefits;

19   and

20           (d)     granting such other and further relief as the Court deems just and proper.

21   Dated: January 18, 2022                        ESCADA AMERICA LLC
22
                                            By: ___/s/ John-Patrick M. Fritz_____
23                                                JOHN-PATRICK M. FRITZ
                                                  LEVENE, NEALE, BENDER,
24                                                YOO & GOLUBCHIK L.L.P.
                                                  Attorneys for Chapter 11
25
                                                  Debtor and Debtor in Possession
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                               EXHIBIT A
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 1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
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 5   Email: JPF@LNBYG.COM
 6   Attorneys for Chapter 11
 7   Debtor and Debtor in Possession

 8
                            UNITED STATES BANKRUPTCY COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION
10
     In re:                                           )   Case No.: 2:22-bk-10266-BB
11                                                    )
     ESCADA AMERICA LLC,                              )   Chapter 11 Case
12                                                    )   Subchapter V
               Debtor and Debtor in Possession.       )
13                                                        ORDER AUTHORIZING DEBTOR TO
                                                      )
                                                      )   (I) PAY PREPETITION PRIORITY
14                                                        WAGES,    COMMISSIONS,       AND
                                                      )   BONUSES;    AND    (II)   HONOR
15                                                    )   ACCURED VACATION AND LEAVE
                                                      )   BENEFIT   IN   THE      ORDINARY
16                                                    )   COURSE OF BUSINESS
                                                      )
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                                                      )
18                                                    )
                                                          Hearing:
                                                      )
                                                          Date: January 20, 2022
19                                                    )
                                                          Time: 10:00 a.m.
                                                      )
20                                                        Place: Courtroom 1539
                                                      )
                                                                 255 East Temple Street
                                                      )
21                                                               Los Angeles, CA 90012
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 1           On January 20, 2022, at 10:00 a.m., the Honorable Sheri Bluebond, United States

 2   Bankruptcy Judge for the Central District of California (the “Court”), held a hearing (the

 3   “Hearing”) in Courtroom 1539 of the United States Bankruptcy Courthouse located at 255 East

 4   Temple Street, Los Angeles, California, to consider the emergency motion (the “Motion”), for

 5   entry of an order authorizing the Debtor to: (1) pay prepetition priority wages, salaries,

 6   commissions and bonuses1 and (2) honor, but not pay, prepetition accrued vacation and leave

 7   benefits in the ordinary course of business filed by Escada America LLC, a Delaware limited

 8   liability company (the “Debtor”), the debtor and debtor in possession in the above-captioned,

 9   chapter 11 bankruptcy case. Appearances were made as set forth on the Court’s record of the

10   hearing.

11           The Court, having read and considered the Motion and all papers in support of the

12   Motion, including the declaration of Kevin Walsh (the “Declaration”) and the statement of

13   counsel made orally at the hearing, the record in the case, the docket in the case, and for good

14   cause appearing, therefor,

15           HEREBY FINDS that notice of the Motion and Hearing were good and proper under

16   the circumstances and pursuant to the Bankruptcy Code, Federal Rules of Bankruptcy

17   Procedure, and Local Bankruptcy Rules, and

18           HEREBY ORDERS AS FOLLOWS:

19           (1)      The Motion is granted;

20           (2)      The Debtor is authorized to pay and/or honor all prepetition wages, salaries,

21   commissions, and bonuses for the prepetition period, including the Debtor’s matching

22   contributions to the employees’ 401(k) plans, all applicable workers compensation contributions,

23   medical benefit contributions, federal and state withholding taxes, payroll taxes, and payroll

24   service fees; and

25

26   1
       The payment of prepetition priority wages, salaries, commissions, and bonuses will include payment of all
     applicable federal and state withholding taxes and payroll taxes, workers compensation contributions, medical
27   benefits contributions, and payroll service fees.

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 1          (3)    The Debtor is authorized to honor, but not pay at this time, accrued vacation and

 2   leave benefits by allowing employees to take their accrued vacation or leave time in the ordinary

 3   course of business, provided that no employee shall receive in value over $13,650 on account of

 4   prepetition claims for wages, salaries, commissions, bonuses and vacation and leave benefits.

 5          SO ORDERED.

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                                Exhibit 2
                                                Case 2:22-bk-10266-BB                     Doc 9 Filed 01/18/22 Entered 01/18/22 17:08:42                                                           Desc
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                                                                                                            DIRECT         DIRECT                                      ADDITIONAL                                          ADDITIONAL     ADDITIONAL   ADDITIONAL
COMPANY                                                     CHECK/VOUCHER                                                                        REGULAR    OVERTIME                               REGULAR      OVERTIME
          FILE NUMBER   POSITION ID   DIST #   PAY DATE                     GROSS PAY       TAKE HOME DEPOSIT : CK1- DEPOSIT : CK2-    NET PAY                         HOURS : V-   TOTAL HOURS                          EARNINGS : 7N EARNINGS : AU EARNINGS : BN
CODE                                                           NUMBER                                                                              HOURS      HOURS                                EARNINGS     EARNINGS
                                                                                                      DD CHECKING 1 DD CHECKING 2                                       VACATION                                          SALES COMM     AUTO ALLOW         BONUS
RW6         000223      RW6000223       1      12/15/2021      00490003        2,254.75        1,535.33                     1,535.33      0.00      75.83                    7.00          82.83     2,254.75
RW6         010640      RW6010640       1      12/15/2021      00490004        5,075.00        3,544.43        200.00       3,344.43      0.00      75.83                                  75.83     5,075.00
RW6         010768      RW6010768       1      12/15/2021      00490002       11,940.58        8,688.15      8,688.15                     0.00      80.00                                  80.00     4,583.34                                  300.00      6,987.24
RW6         010604      RW6010604       1      12/15/2021      00490001        8,333.34        5,324.38      5,324.38                     0.00      75.83                                  75.83     8,333.34
RW6         000223      RW6000223       1      12/30/2021      00520003        4,655.63        1,351.67                     1,351.67      0.00      75.83                    7.00          82.83     2,254.75                                2,400.88
RW6         010640      RW6010640       1      12/30/2021      00520004        5,752.88        3,492.58        200.00       3,292.58      0.00      75.83                                  75.83     5,075.00                                  677.88
RW6         010768      RW6010768       1      12/30/2021      00520002        5,972.39        3,762.13      3,762.13                     0.00      80.00                                  80.00     4,583.34                    300.00      1,019.05        70.00
RW6         010604      RW6010604       1      12/30/2021      00520001        8,333.34        5,324.37      5,324.37                     0.00      75.83                                  75.83     8,333.34
RW6         000223      RW6000223       1      01/14/2022      00020003        2,254.75        1,553.14                     1,553.14      0.00      75.83                    7.00          82.83     2,254.75
RW6         010640      RW6010640       1      01/14/2022      00020004        5,075.00        3,540.88        200.00       3,340.88      0.00      75.83                                  75.83     5,075.00
RW6         010768      RW6010768       1      01/14/2022      00020002        6,453.34        4,913.63      4,913.63                     0.00      80.00                                  80.00     4,583.34                    300.00      1,500.00        70.00
RW6         010604      RW6010604       1      01/14/2022      00020001        8,333.34        4,799.39      4,799.39                     0.00      75.83                                  75.83     8,333.34




Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                                                Case 2:22-bk-10266-BB                                       Doc 9 Filed 01/18/22 Entered 01/18/22 17:08:42                                                                                Desc
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                                                                                                                                                                             VOLUNTARY                    VOLUNTARY
  ADDITIONAL                       FEDERAL LIVED IN LOCAL                     SOCIAL                    WORKED IN FAMILY LEAVE                 VOLUNTARY       VOLUNTARY                   VOLUNTARY                     VOLUNTARY           TOTAL
                    TOTAL                                    MEDICARE -                    SUI/SDI -                                  TOTAL                                  DEDUCTION :                  DEDUCTION :                                              MEMO : H- MEMO : X-MAX
EARNINGS : O-                      INCOME -   - EMPLOYEE                   SECURITY -                      STATE -  INSURANCE -              DEDUCTION : 75    DEDUCTION :               DEDUCTION : L1                  DEDUCTION :     VOLUNTARY MEMO : G-GTL                           TOTAL MEMOS
                 EARNINGS                                 EMPLOYEE TAX                EMPLOYEE TAX                              EMPLOYEE TAX                                     FS-FSA                     MED-S125                                               HRS*WRK     ELIG/COMP
      OTHER                   EMPLOYEE TAX            TAX               EMPLOYEE TAX                 EMPLOYEE TAX EMPLOYEE TAX                   SUPPORT$      DNT-DENTAL                    401K LOAN                VIS-S125 VISION    DEDUCTIONS
                                                                                                                                                                                MEDICAL                      MEDICAL
                   2,254.75           127.45         59.09         29.19       124.80          1.30         84.46         11.52        437.81                         6.50         20.83          39.32        214.02             0.94        281.61        0.45                  2,254.75     2,255.20
                   5,075.00           578.83                       68.95       294.83          1.30        261.46                     1,205.37                        6.50                                      317.76            0.94        325.20        5.39                  5,075.00     5,080.39
        70.00     11,940.58         2,038.47                      168.46       720.30                                                 2,927.23                        6.50                                      317.76            0.94        325.20        2.40                                  2.40
                   8,333.34         1,804.80                      116.08                                   452.92                     2,373.80       290.34           7.80                                      336.02            1.00        635.16       17.24                  8,333.34     8,350.58
      4,655.63      127.45             59.09         64.00        273.65         1.30         84.46         11.52        621.47                     2,400.88          6.50         20.83          39.32         214.02            0.94       2,682.49       0.45    2,254.75      2,255.20
      5,752.88      578.83                           78.78        336.85         1.30        261.46                     1,257.22                     677.88           6.50                                      317.76            0.94       1,003.08       5.39    5,075.00      5,080.39
      5,972.39      433.82                           81.92        350.27                                                 866.01                     1,019.05          6.50                                      317.76            0.94       1,344.25       2.40    4,653.34      4,655.74
      8,333.34     1,804.80                         116.09                                   452.92                     2,373.81       290.34                         7.80                                      336.02            1.00        635.16       17.24     8,333.34     8,350.58
      2,254.75      127.68             59.95         29.49        126.09         1.30         84.72         11.52                      440.75                         6.50          0.08          39.32         214.02                          0.94      260.86        0.45      2,254.75     2,255.20
      5,075.00      560.55                           68.99        295.00         1.30        257.15         25.93                     1,208.92                        6.50                                      317.76                          0.94      325.20        8.27      5,075.00     5,083.27
      6,453.34      745.53                           88.89        380.09                                                              1,214.51                        6.50                                      317.76                          0.94      325.20        2.40      4,653.34     4,655.74
      8,333.34     1,774.67                         116.08        496.36                     452.92         11.67         35.42       2,887.12       290.34           7.80                                      336.02           11.67          1.00      646.83       17.24      8,333.34     8,350.58




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                                            Case 2:22-bk-10266-BB                                       Doc 9 Filed 01/18/22 Entered 01/18/22 17:08:42                                                                    Desc
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                                                                                                                                                                        ADDITION          ADDITION                                       ADDITION                     ADDITION
                                                                               DIRECT   DIRECT   DIRECT   DIRECT   DIRECT                                     ADDITION                                                         ADDITION            ADDITION ADDITION
                                                                                                                                                                              AL ADDITION       AL                     OVERTIM                  AL                           AL
                                                 CHECK/V                     DEPOSIT DEPOSIT DEPOSIT DEPOSIT DEPOSIT                                                 AL                                      REGULAR                  AL                  AL      AL
COMPAN     FILE POSITION              PAY                   GROSS       TAKE                                                                  REGULAR OVERTIM            HOURS :       AL HOURS :     TOTAL                  E           EARNING                      EARNING
                            DIST #               OUCHER                      : CK1-DD : CK2-DD : CK3-DD : SV1-DD : SV2-DD            NET PAY                  HOURS :                                        EARNING           EARNING             EARNING EARNING
Y CODE   NUMBER    ID                 DATE                    PAY       HOME                                                                    HOURS E HOURS                PR- HOURS :         V-   HOURS            EARNING             S : 7N-                      S : PR-
                                                 NUMBER                      CHECKIN CHECKIN CHECKIN SAVINGS SAVINGS                                                7H-                                              S           S : 7H-             S : BN-   S : O-
                                                                                                                                                                        PERSONA SK-SICK VACATIO                              S             SALES                      PERSONA
                                                                                  G1       G2       G3         1        2                                     HOLIDAY                                                          HOLIDAY               BONUS    OTHER
                                                                                                                                                                               L                 N                                         COMM                               L
RW7      000340   RW70003     1      12/10/202   00490023   2,492.40   1,405.66   1,405.66                                               0.00    59.50             7.50                                67.00    833.00            375.00 1,575.32             -290.92
                    40                   1
RW7      010788   RW70107     1      12/10/202   00490043   1,422.02   1,110.96   1,110.96                                               0.00    66.08                                                 66.08   1,189.44                      232.58
                    88                   1
RW7      010755   RW70107     1      12/10/202   00490003   3,653.85   2,409.48   2,409.48                                               0.00    76.00              8.00              4.00             88.00   3,653.85
                    55                   1
RW7      010317   RW70103     1      12/10/202   00490024   1,349.87   1,083.24   1,083.24                                               0.00    59.17              7.00                               66.17   1,207.07            142.80
                    17                   1
RW7      010793   RW70107     1      12/10/202   00490025   1,526.00   1,110.26   1,110.26                                               0.00    68.33     1.17     7.00                               76.50   1,024.95   26.33    105.00    369.72
                    93                   1
RW7      010670   RW70106     1      12/10/202   00490045   2,755.02   2,092.54   2,092.54                                               0.00    71.50              7.50                               79.00   1,144.00            150.00    961.02    500.00
                    70                   1
RW7      010780   RW70107     1      12/10/202   00490004    515.27     442.59     442.59                                                0.00    33.25                                                 33.25    399.00                       116.27
                    80                   1
RW7      010761   RW70107     1      12/10/202   00490005   1,274.86    920.68     920.68                                                0.00    54.50              7.00     7.00                      68.50    817.50             105.00    247.36                       105.00
                    61                   1
RW7      010782   RW70107     1      12/10/202   00490006   1,815.85   1,511.50   1,511.50                                               0.00    69.75              7.50                               77.25   1,464.75            157.50    193.60
                    82                   1
RW7      010440   RW70104     1      12/10/202   00490039   2,145.66   1,259.97   1,259.97                                               0.00    74.75     0.67     7.50                               82.92   1,046.50   14.07    187.50    897.59
                    40                   1
RW7      010800   RW70108     1      12/10/202   00490026    424.95     387.35     387.35                                                0.00    28.33                                                 28.33    424.95
                    00                   1
RW7      010773   RW70107     1      12/10/202   00490010   3,653.85   2,855.30   2,855.30                                               0.00    80.00              8.00                               88.00   3,653.85
                    73                   1
RW7      010721   RW70107     1      12/10/202   00490027   4,423.08   3,216.07   3,216.07                                               0.00    80.00              8.00                               88.00   4,423.08
                    21                   1
RW7      010648   RW70106     1      12/10/202   00490019   2,692.31   1,125.54   1,125.54                                               0.00    80.00              8.00                               88.00   2,692.31
                    48                   1
RW7      010771   RW70107     1      12/10/202   00490034   1,959.37   1,528.58   1,528.58                                               0.00    64.92              8.00                       4.00    76.92   1,623.00            200.00     36.37
                    71                   1
RW7      001692   RW70016     1      12/10/202   00490029    777.00     598.74     598.74                                                0.00    30.00              7.00                               37.00    630.00             147.00
                    92                   1
RW7      010794   RW70107     1      12/10/202   00490040   1,313.43   1,076.85   1,076.85                                               0.00    72.58     1.75                                        74.33   1,016.12   36.75              260.56
                    94                   1
RW7      010161   RW70101     1      12/10/202   00490032   1,196.48    587.60     587.60                                                0.00    60.33              7.50                               67.83    844.62             150.00    201.86
                    61                   1
RW7      010775   RW70107     1      12/10/202   00490011   1,630.16   1,222.01   1,222.01                                               0.00    61.25              8.00                               69.25   1,286.25            168.00    175.91
                    75                   1
RW7      000435   RW70004     1      12/10/202   00490030   4,142.15   2,417.07   2,367.07                         50.00                 0.00    63.33              7.50                               70.83   1,899.90            375.00   1,867.25
                    35                   1
RW7      010668   RW70106     1      12/10/202   00490020    665.84     614.91     614.91                                                0.00    41.83                                                 41.83    543.79                       122.05
                    68                   1
RW7      010801   RW70108     1      12/10/202   00490031   1,314.00   1,121.39   1,121.39                                               0.00    65.50              7.50                               73.00   1,179.00            135.00
                    01                   1
RW7      010567   RW70105     1      12/10/202   00490007   1,180.03    895.60     895.60                                                0.00    60.00              7.00                               67.00    870.00             101.50    208.53
                    67                   1
RW7      001203   RW70012     1      12/10/202   00490035   2,254.97   1,396.65                         246.65    500.00    650.00      0.00     55.58              7.50                       8.00    71.08    778.12             187.50   1,089.35
                    03                   1
RW7      010776   RW70107     1      12/10/202   00490014   1,472.22    599.69     599.69                                                0.00    67.83     1.92                                        69.75   1,153.11   48.96              270.15
                    76                   1
RW7      010090   RW70100     1      12/10/202   00490001   1,672.00   1,248.14   1,248.14                                               0.00    64.00             16.00                               80.00   1,337.60            334.40
                    90                   1
RW7      010770   RW70107     1      12/10/202   00490012   2,187.22   1,630.95   1,630.95                                               0.00    63.33              8.00                               71.33   1,836.57            232.00    118.65
                    70                   1
RW7      010769   RW70107     1      12/10/202   00490036   3,461.54   2,469.58   2,469.58                                               0.00                       8.00                                8.00   3,461.54
                    69                   1
RW7      010789   RW70107     1      12/10/202   00490013    824.83     698.69     698.69                                                0.00    35.00                                                 35.00    630.00                       194.83
                    89                   1
RW7      020100   RW70201     1      12/10/202   21813414   1,364.94   1,098.70                                                      1,098.70    67.83              8.00                               75.83   1,220.94            144.00
                    00                   1
RW7      010792   RW70107     1      12/10/202   00490008    726.20     646.29     646.29                                                0.00    34.17                                                 34.17    615.06                       111.14
                    92                   1
RW7      010757   RW70107     1      12/10/202   00490041   2,494.01   1,823.56   1,823.56                                               0.00    73.67     0.50     7.00                               81.17   1,473.40   15.00    140.00    865.61
                    57                   1
RW7      010787   RW70107     1      12/10/202   00490038   3,846.15   3,160.73   3,160.73                                               0.00    72.00              8.00                       8.00    88.00   3,846.15
                    87                   1
RW7      010062   RW70100     1      12/10/202   00490046   3,985.26   2,609.72   2,609.72                                               0.00    80.00              8.00                               88.00   1,440.00            200.00   1,745.26   600.00
                    62                   1
RW7      002904   RW70029     1      12/10/202   00490015   2,884.62   2,199.20                                  2,199.20                0.00    80.00              8.00                               88.00   2,884.62
                    04                   1
RW7      000204   RW70002     1      12/10/202   00490042    614.21     545.30     545.30                                                0.00    20.92                                                 20.92    614.21
                    04                   1
RW7      010686   RW70106     1      12/10/202   00490044   3,730.77   2,512.80              1,512.80            1,000.00                0.00    80.00              8.00                               88.00   3,730.77
                    86                   1
RW7      010744   RW70107     1      12/10/202   00490021   1,722.82   1,406.45   1,406.45                                               0.00    66.33              7.00                               73.33   1,193.94            126.00    402.88
                    44                   1
RW7      001029   RW70010     1      12/10/202   00490028   2,372.24   1,629.46   1,629.46                                               0.00    62.25              7.50                               69.75    871.50             262.50   1,404.97            -166.73
                    29                   1
RW7      000313   RW70003     1      12/10/202   00490002   3,565.65   2,431.80   2,431.80                                               0.00    72.00              8.00                       8.00    88.00   3,565.65
                    13                   1



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RW7   001299   RW70012   1   12/10/202   00490033   1,958.30   1,099.10   1,099.10                            0.00   66.58    0.17    7.50                         74.25    932.12     3.57     375.00     647.61
                 99              1
RW7   010651   RW70106   1   12/10/202   00490022   1,345.53   1,028.95   1,028.95                            0.00   66.50    0.58    7.00                         74.08    931.00    12.18      98.00     304.35
                 51              1
RW7   010791   RW70107   1   12/10/202   00490016   1,768.44   1,395.84   1,395.84                            0.00   42.25            7.00                 23.36   72.61    929.50              154.00     171.02
                 91              1
RW7   010650   RW70106   1   12/10/202   25069850   1,148.83    889.59                                     889.59    54.75                                         54.75    766.50                         382.33
                 50              1
RW7   010560   RW70105   1   12/10/202   00490009   1,166.22    861.09     861.09                             0.00   48.08            7.00   7.00   3.00           65.08    697.16              101.50     222.56                        101.50
                 60              1
RW7   010736   RW70107   1   12/10/202   00490037    246.30     212.25     212.25                             0.00   16.42                                         16.42    246.30
                 36              1
RW7   001759   RW70017   1   12/10/202   65265197   5,486.00   4,076.72                                   4,076.72   66.33            7.50                         73.83                        750.00    4,736.00
                 59              1
RW7   010075   RW70100   1   12/10/202   00490047   3,212.08   2,094.77   2,094.77                            0.00   80.00            8.00                         88.00   3,212.08
                 75              1
RW7   002731   RW70027   1   12/10/202   00490017   1,813.50   1,381.95   1,381.95                            0.00   64.75    0.50    7.50                  8.00   80.75   1,295.00   15.00     150.00     193.50
                 31              1
RW7   010784   RW70107   1   12/10/202   00490018    454.74     414.51     414.51                             0.00   22.92                                         22.92    320.88                         133.86
                 84              1
RW7   020003   RW70200   1   01/05/202   05340706    -197.30    -182.21                                    -182.21                                                                                                             -197.30
                 03              2
RW7   020003   RW70200   1   01/05/202   05343336    197.30     182.21                                     182.21                                                                                                              197.30
                 03              2
RW7   020003   RW70200   1   01/05/202   05342129    -543.40    -495.76                                    -495.76   -27.17                                                           -27.17    -543.40
                 03              2
RW7   020003   RW70200   1   01/05/202   05343335    543.40     495.76                                     495.76    27.17                                                            27.17     543.40
                 03              2
RW7   000340   RW70003   1   01/07/202   00014024   3,923.00   2,119.81   2,119.81                            0.00   49.00    0.50   15.00                                            64.50     686.00      10.50    750.00   2,767.42
                 40              2
RW7   010788   RW70107   1   01/07/202   00014044   1,080.00    866.04     866.04                             0.00   60.00                                                            60.00    1,080.00
                 88              2
RW7   010755   RW70107   1   01/07/202   00014004   3,653.85   2,417.93   2,417.93                            0.00   72.00           16.00                  8.00                      96.00    3,653.85
                 55              2
RW7   010317   RW70103   1   01/07/202   00014025   1,995.00   1,536.07   1,536.07                            0.00   57.25           14.00                                            71.25    1,603.00              392.00
                 17              2
RW7   010793   RW70107   1   01/07/202   00014026   1,159.38    839.64     839.64                             0.00   61.33    0.33   14.00                                            75.66     919.95        7.43   210.00     22.00
                 93              2
RW7   010670   RW70106   1   01/07/202   00014046   1,974.07   1,515.32   1,515.32                            0.00   46.67           15.00                 15.00                      76.67     746.72               300.00    127.35    500.00
                 70              2
RW7   010780   RW70107   1   01/07/202   00014005    659.80     563.15     563.15                             0.00   43.17                                                            43.17     518.04                         141.76
                 80              2
RW7   010761   RW70107   1   01/07/202   00014006   1,317.06    956.61     956.61                             0.00   59.75           14.00                                            73.75     896.25               210.00    210.81
                 61              2
RW7   010782   RW70107   1   01/07/202   00014007   1,790.80   1,493.94   1,493.94                            0.00   54.92           15.00          7.50                              77.42    1,153.32              315.00    164.98
                 82              2
RW7   010440   RW70104   1   01/07/202   00014040   2,584.16   1,529.23   1,529.23                            0.00   73.58    0.67   15.00                                            89.25    1,030.12     14.07    375.00   1,164.97
                 40              2
RW7   010800   RW70108   1   01/07/202   00014027    312.45     285.11     285.11                             0.00   20.83                                                            20.83     312.45
                 00              2
RW7   010773   RW70107   1   01/07/202   00014011   3,653.85   2,862.55   2,862.55                            0.00   80.00           16.00                                            96.00    3,653.85
                 73              2
RW7   010721   RW70107   1   01/07/202   00014028   4,423.08   3,244.04   3,244.04                            0.00   80.00           16.00                                            96.00    4,423.08
                 21              2
RW7   010648   RW70106   1   01/07/202   00014020   2,692.31    975.43     975.43                             0.00   64.00           16.00                                   16.00    96.00    2,692.31
                 48              2
RW7   010771   RW70107   1   01/07/202   00014036   1,452.37   1,123.84   1,123.84                            0.00   40.67           16.00                                            56.67    1,016.75              400.00     35.62
                 71              2
RW7   001692   RW70016   1   01/07/202   00014031    696.57     541.27     541.27                             0.00    5.17           14.00                                   14.00    33.17     108.57               294.00
                 92              2
RW7   010794   RW70107   1   01/07/202   00014041   2,192.24   1,712.77   1,712.77                            0.00   72.58    0.17                                                    72.75    1,021.95       3.57            1,166.72
                 94              2
RW7   010161   RW70101   1   01/07/202   00014033   1,168.38    569.39     569.39                             0.00   36.75           15.00                          3.00              54.75     514.50               300.00    308.88
                 61              2
RW7   010775   RW70107   1   01/07/202   00014012   1,707.82   1,282.18   1,282.18                            0.00   61.00           16.00                                            77.00    1,281.00              336.00     90.82
                 75              2
RW7   020101   RW70201   1   01/07/202   00014034    825.88     719.25     719.25                             0.00   36.67    0.58                                                    37.25     806.74      19.14
                 01              2
RW7   010668   RW70106   1   01/07/202   00014021    161.03     148.72     148.72                             0.00    9.42                                                             9.42     122.46                          38.57
                 68              2
RW7   010801   RW70108   1   01/07/202   00014032   1,962.08   1,644.20   1,644.20                            0.00   56.92           15.00                                            71.92    1,024.56              270.00    667.52
                 01              2
RW7   010567   RW70105   1   01/07/202   00014008   1,251.18    954.85     954.85                             0.00   55.58           14.00                  3.50                      73.08     805.91               203.00    191.52
                 67              2
RW7   001203   RW70012   1   01/07/202   00014037   1,521.98    921.52                  271.52   650.00       0.00   41.50           15.00                                   12.00    68.50     581.00               375.00    265.98
                 03              2
RW7   010776   RW70107   1   01/07/202   00014015   1,294.72    528.99     528.99                             0.00   68.25                                                            68.25    1,160.25                        134.47
                 76              2
RW7   010090   RW70100   1   01/07/202   00014002   1,672.00   1,246.79   1,246.79                            0.00   64.00           16.00                                            80.00    1,337.60              334.40
                 90              2
RW7   010770   RW70107   1   01/07/202   00014013   2,665.52   1,946.70   1,946.70                            0.00   72.92           16.00                                            88.92    2,114.68              464.00     86.84
                 70              2
RW7   010769   RW70107   1   01/07/202   00014038   3,461.54   2,478.03   2,478.03                            0.00                   16.00                                   28.00    44.00    3,461.54
                 69              2
RW7   020003   RW70200   1   01/07/202   05343620    128.40     118.58                                     118.58     6.42                                                             6.42     128.40
                 03              2



Due to the large number of columns in this spreadsheet, it is printed to two parts.
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                                    Case 2:22-bk-10266-BB                                          Doc 9 Filed 01/18/22 Entered 01/18/22 17:08:42                               Desc
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RW7   020003   RW70200   1   01/07/202   05343621   1,717.84    1,447.95                                         1,447.95   59.58           14.00                               73.58    1,191.60             280.00     246.24
                 03              2
RW7   010704   RW70107   1   01/07/202   00014016     851.05      691.72      691.72                                 0.00   39.83                                               39.83      637.28                        213.77
                 04              2
RW7   020100   RW70201   1   01/07/202   00014014   1,528.03    1,221.89    1,221.89                                 0.00   61.42           16.00                               77.42    1,105.56             288.00     134.47
                 00              2
RW7   010792   RW70107   1   01/07/202   00014009     742.98      661.66      661.66                                 0.00   37.58                                               37.58      676.44                         66.54
                 92              2
RW7   010757   RW70107   1   01/07/202   00014042   1,962.96    1,427.40    1,427.40                                 0.00   62.08           14.00                               76.08    1,241.60             280.00     441.36
                 57              2
RW7   010787   RW70107   1   01/07/202   00014039   3,846.15    3,172.69    3,172.69                                 0.00   72.00           16.00          8.00                 96.00    3,846.15
                 87              2
RW7   010062   RW70100   1   01/07/202   00014047   4,125.03    2,775.84    2,775.84                                 0.00   79.25    2.67   16.00                               97.92    1,426.50    72.09    400.00    1,626.44    600.00
                 62              2
RW7   002904   RW70029   1   01/07/202   00014017   2,884.62    2,208.90                              2,208.90       0.00   80.00           16.00                               96.00    2,884.62
                 04              2
RW7   020002   RW70200   1   01/07/202   00014001   2,797.08    2,359.73    2,359.73                                 0.00   55.92           14.00                               69.92    1,621.68             406.00     769.40
                 02              2
RW7   000204   RW70002   1   01/07/202   00014043     783.03      681.46      681.46                                 0.00   26.67                                               26.67      783.03
                 04              2
RW7   010686   RW70106   1   01/07/202   00014045   3,730.77    2,522.63                1,522.63      1,000.00       0.00   64.00           16.00                               80.00    3,730.77
                 86              2
RW7   010744   RW70107   1   01/07/202   00014022     869.18      684.70      684.70                                 0.00   29.33           14.00                               43.33      527.94             252.00      89.24
                 44              2
RW7   001029   RW70010   1   01/07/202   00014029   1,211.62      837.38      837.38                                 0.00   52.50            7.50                               60.00      735.00             262.50     380.85
                 29              2
RW7   001029   RW70010   1   01/07/202   00014030     262.50      193.85      193.85                                 0.00                    7.50                                7.50                         262.50
                 29              2
RW7   000313   RW70003   1   01/07/202   00014003   3,565.65    2,432.95    2,432.95                                 0.00   80.00           16.00                               96.00    3,565.65
                 13              2
RW7   001299   RW70012   1   01/07/202   00014035   2,704.37    1,634.44    1,634.44                                 0.00   49.58            7.50          7.50   3.00          67.58      694.12             375.00    1,218.25
                 99              2
RW7   010651   RW70106   1   01/07/202   00014023   1,987.95    1,495.90    1,495.90                                 0.00   68.92    4.33   14.00                               87.25      964.88    90.93    196.00     736.14
                 51              2
RW7   010650   RW70106   1   01/07/202   25070693   1,088.55      809.97                                          809.97    56.25                                               56.25      787.50                        301.05
                 50              2
RW7   010560   RW70105   1   01/07/202   00014010   1,137.52      844.39      844.39                                 0.00   48.33           14.00          3.50                 65.83      700.79             203.00     182.98
                 60              2
RW7   001759   RW70017   1   01/07/202   65267311   4,152.50    3,191.73                                         3,191.73   59.50           15.00                               74.50                        1,500.00   2,652.50
                 59              2
RW7   010075   RW70100   1   01/07/202   00014048   3,212.08    2,066.26    2,066.26                                 0.00   80.00           16.00                               96.00    3,212.08
                 75              2
RW7   002731   RW70027   1   01/07/202   00014018   1,900.64    1,452.00    1,452.00                                 0.00   56.83    0.50   15.00                        7.50   79.83    1,136.60    15.00    300.00     299.04
                 31              2
RW7   010784   RW70107   1   01/07/202   00014019     664.01      589.31      589.31                                 0.00   42.00                                               42.00      588.00                         76.01
                 84              2
RW7   010801   RW70108   1   12/13/202   00494001     336.16      310.44      310.44                                 0.00                                                                                                336.16
                 01              1
RW7   010800   RW70108   1   12/15/202   00500001     138.36      126.12      126.12                                 0.00                                                                                                138.36
                 00              1
RW7   000297   RW70002   1   12/15/202   00500002     142.50      130.49      130.49                                 0.00    7.50                                                7.50      142.50
                 97              1
RW7   010789   RW70107   1   12/15/202   00470013   -1,394.52   -1,120.55   -1,120.55                                0.00   -66.08                                              -66.08   -1,189.44                       -205.08
                 89              1
RW7   010789   RW70107   1   12/15/202   00490013    -824.83     -698.69     -698.69                                 0.00   -35.00                                              -35.00    -630.00                        -194.83
                 89              1
RW7   020100   RW70201   1   12/15/202   00000000   1,394.52    1,120.55    1,120.55                                 0.00   66.08                                               66.08    1,189.44                        205.08
                 00              1
RW7   020100   RW70201   1   12/15/202   00000000     824.83      698.69      698.69                                 0.00   35.00                                               35.00      630.00                        194.83
                 00              1
RW7   020100   RW70201   1   12/15/202   21771041    -630.00     -548.74                                          -548.74   -35.00                                              -35.00    -630.00
                 00              1
RW7   000340   RW70003   1   12/23/202   00510023   1,732.26      970.84      970.84                                 0.00   59.50                                               59.50      833.00                       1,190.18
                 40              1
RW7   010788   RW70107   1   12/23/202   00510043   1,257.52      992.20      992.20                                 0.00   65.50                                               65.50    1,179.00                         78.52
                 88              1
RW7   010755   RW70107   1   12/23/202   00510003   7,518.15    4,789.37    4,789.37                                 0.00                           8.00                         8.00    3,653.85                                  3,536.16
                 55              1
RW7   010317   RW70103   1   12/23/202   00510024   2,034.76    1,555.86    1,555.86                                 0.00   72.67                                               72.67    2,034.76
                 17              1
RW7   010793   RW70107   1   12/23/202   00510025   1,597.48    1,163.71    1,163.71                                 0.00   72.42                                               72.42    1,086.30                        511.18
                 93              1
RW7   010670   RW70106   1   12/23/202   00510045   3,001.95    2,263.04    2,263.04                                 0.00   79.67                                               79.67    1,274.72                       1,227.23    500.00
                 70              1
RW7   010780   RW70107   1   12/23/202   00510004     497.78      428.19      428.19                                 0.00   39.25                                               39.25      471.00                         26.78
                 80              1
RW7   010761   RW70107   1   12/23/202   00510005   1,770.46      877.26      877.26                                 0.00   65.33                   7.00                        72.33      979.95                        183.49
                 61              1
RW7   010782   RW70107   2   12/23/202   00510006     360.41      296.79      296.79                                 0.00   15.67                                               15.67      360.41
                 82              1
RW7   010782   RW70107   1   12/23/202   00510006   1,364.58    1,139.87    1,139.87                                 0.00   53.08                   7.50                        60.58    1,114.68                         92.40
                 82              1
RW7   010440   RW70104   1   12/23/202   00510039   2,008.92    1,178.23    1,178.23                                 0.00   63.83    0.50                  8.00                 72.33      893.62    10.50               904.80
                 40              1
RW7   010800   RW70108   1   12/23/202   00510026     458.79      418.17      418.17                                 0.00   30.58    0.08                                       30.66      458.70     1.80                 -1.71
                 00              1


Due to the large number of columns in this spreadsheet, it is printed to two parts.
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RW7   010773   RW70107   1   12/23/202   00510010    7,339.61   4,524.10   4,524.10                                               0.00   68.00                  4.00                     8.00    80.00   3,653.85                      2,725.66
                 73              1
RW7   010721   RW70107   1   12/23/202   00510027    6,786.68   4,608.72   4,608.72                                               0.00   80.00                                                   80.00   4,423.08                      2,363.60
                 21              1
RW7   010648   RW70106   1   12/23/202   00510019    4,135.89   2,183.94   2,183.94                                               0.00   80.00                                                   80.00   2,692.31                      1,443.58
                 48              1
RW7   010771   RW70107   1   12/23/202   00510035    2,191.26   1,771.27   1,771.27                                               0.00   65.50                                          16.00    81.50   1,637.50            153.76
                 71              1
RW7   001692   RW70016   1   12/23/202   00510029    1,090.32    823.01     823.01                                                0.00   36.92                          5.00            10.00    51.92    775.32
                 92              1
RW7   010794   RW70107   1   12/23/202   00510040    1,481.95   1,202.40   1,202.40                                               0.00   73.58   2.50                                            76.08   1,030.12   52.50    399.33
                 94              1
RW7   010161   RW70101   1   12/23/202   00510033    1,346.11    690.10     690.10                                                0.00   64.17   0.08                                            64.25    898.38     1.68    446.05
                 61              1
RW7   010775   RW70107   1   12/23/202   00510011    1,568.67   1,176.57   1,176.57                                               0.00   63.83                          6.00                     69.83   1,340.43            102.24
                 75              1
RW7   000435   RW70004   1   12/23/202   00510030    3,903.21   2,267.64   2,217.64                        50.00                  0.00   58.92                  0.50                     5.50    64.92   1,767.60           1,835.61
                 35              1
RW7   010668   RW70106   1   12/23/202   00510020     446.29     412.15     412.15                                                0.00   27.58                                                   27.58    358.54              87.75
                 68              1
RW7   010801   RW70108   1   12/23/202   00510031    1,636.67   1,380.65   1,380.65                                               0.00   68.67                                                   68.67   1,236.06            400.61
                 01              1
RW7   010567   RW70105   1   12/23/202   00510007    1,118.02    845.78     845.78                                                0.00   60.25                                           7.00    67.25    873.63             142.89
                 67              1
RW7   001203   RW70012   1   12/23/202   00510036    1,914.13   1,183.04                         33.04    500.00    650.00        0.00   55.17                                          16.00    71.17    772.38             741.75
                 03              1
RW7   000297   RW70002   1   12/23/202   00510032     262.77     241.54      41.54                        200.00                  0.00   13.83                                                   13.83    262.77
                 97              1
RW7   010776   RW70107   1   12/23/202   00510014    1,255.33    511.59     511.59                                                0.00   62.50                                                   62.50   1,062.50            192.83
                 76              1
RW7   010090   RW70100   1   12/23/202   00510001    1,672.00   1,248.13   1,248.13                                               0.00   80.00                                                   80.00   1,672.00
                 90              1
RW7   010770   RW70107   1   12/23/202   00510012    2,128.25   1,592.22   1,592.22                                               0.00   67.58                                           4.00    71.58   1,959.82             52.43
                 70              1
RW7   010769   RW70107   1   12/23/202   00510037    3,461.54   2,469.59   2,469.59                                               0.00                                                                   3,461.54
                 69              1
RW7   020003   RW70200   1   12/23/202   05340706     197.30     182.21                                                        182.21                                                                                        197.30
                 03              1
RW7   010704   RW70107   1   12/23/202   00510015     300.41     258.97     258.97                                                0.00   16.50                                                   16.50    264.00              36.41
                 04              1
RW7   020100   RW70201   1   12/23/202   00510013     683.76     590.32     590.32                                                0.00   66.33                                                   66.33   1,193.94            119.82
                 00              1
RW7   010792   RW70107   1   12/23/202   00510008     585.64     530.53     530.53                                                0.00   30.83                                                   30.83    554.94              30.70
                 92              1
RW7   010757   RW70107   1   12/23/202   00510041    1,271.80    876.49     876.49                                                0.00   53.50                                                   53.50   1,070.00            201.80
                 57              1
RW7   010787   RW70107   1   12/23/202   00510038    5,827.28   3,009.18   3,009.18                                               0.00   80.00                                                   80.00   3,846.15
                 87              1
RW7   010062   RW70100   1   12/23/202   00510046    2,931.13   1,960.12   1,960.12                                               0.00   79.50                                                   79.50   1,431.00            900.13     600.00
                 62              1
RW7   002904   RW70029   1   12/23/202   00510016    7,438.75   4,483.19                                 4,483.19                 0.00   80.00                                                   80.00   2,884.62                      3,550.96
                 04              1
RW7   000204   RW70002   1   12/23/202   00510042     295.95     268.96     268.96                                                0.00   10.08                                                   10.08    295.95
                 04              1
RW7   010686   RW70106   1   12/23/202   00510044    3,730.77   2,512.80              1,512.80           1,000.00                 0.00   80.00                                                   80.00   3,730.77
                 86              1
RW7   010744   RW70107   1   12/23/202   00510021    1,453.53   1,190.95   1,190.95                                               0.00   67.33                                                   67.33   1,211.94            241.59
                 44              1
RW7   001029   RW70010   1   12/23/202   00510028     930.92     618.11     618.11                                                0.00   57.17   1.08                                            58.25    800.38    22.68    274.59
                 29              1
RW7   000313   RW70003   1   12/23/202   00510002    3,565.65   2,431.82   2,431.82                                               0.00   80.00                                                   80.00   3,565.65
                 13              1
RW7   001299   RW70012   1   12/23/202   00510034    2,587.13   1,454.75   1,454.75                                               0.00   73.42   0.17                                            73.59   1,027.88    3.57   1,555.68
                 99              1
RW7   010651   RW70106   1   12/23/202   00510022    1,096.21    828.62     828.62                                                0.00   54.75                         14.00                     68.75    766.50             133.71
                 51              1
RW7   010650   RW70106   1   12/23/202   25070233     849.06     669.71                                                        669.71    51.83                                                   51.83    725.62             123.44
                 50              1
RW7   010560   RW70105   1   12/23/202   00510009    1,077.69    800.13     800.13                                                0.00   61.92                                                   61.92    897.84             179.85
                 60              1
RW7   001759   RW70017   1   12/23/202   65266362   18,802.10 11,557.20                                                      11,557.20   70.00   4.00   7.00   22.50           137.50           241.00                      2,802.10
                 59              1
RW7   010075   RW70100   1   12/23/202   00510047    3,996.56   2,685.10   2,685.10                                               0.00   80.00                                                   80.00   3,212.08                       784.48
                 75              1
RW7   002731   RW70027   1   12/23/202   00510017    1,693.36   1,294.76   1,294.76                                               0.00   76.25   0.17                                            76.42   1,525.00    5.10    163.26
                 31              1
RW7   010784   RW70107   1   12/23/202   00510018     507.28     459.92     459.92                                                0.00   30.00                                                   30.00    420.00              87.28
                 84              1
RW7   010648   RW70106   1   12/30/202   00520001    1,977.80       0.00                                                          0.00
                 48              1
RW7   020003   RW70200   1   12/30/202   05342129     543.40     495.76                                                        495.76    27.17                                                   27.17    543.40
                 03              1
RW7   010744   RW70107   1   12/30/202   00520002     507.40        0.00                                                          0.00
                 44              1
RW7   010651   RW70106   1   12/30/202   00520003     518.29        0.00                                                          0.00
                 51              1


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RW7   010650   RW70106   1   12/30/202 00520004    503.02    0.00               0.00
                 50              1
RW7   001759   RW70017   1   12/30/202 00520005   1,476.00   0.00               0.00
                 59              1
RW7   010075   RW70100   1   12/30/202 00520006    410.47    0.00               0.00
                 75              1




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                                               Case 2:22-bk-10266-BB                                     Doc 9 Filed 01/18/22 Entered 01/18/22 17:08:42                                                                          Desc
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          ADDITION                                                               FAMILY                       VOLUNTA VOLUNTA                VOLUNTA VOLUNTA VOLUNTA VOLUNTA                    VOLUNTA
ADDITION                                          SOCIAL                                            VOLUNTA                       VOLUNTA                                             VOLUNTA                 TOTAL
                AL            FEDERAL MEDICAR                        WORKED       LEAVE                              RY       RY                    RY        RY         RY       RY                   RY                                  MEMO : MEMO : X-
       AL             TOTAL                      SECURIT SUI/SDI -                          TOTAL         RY                             RY                                                 RY             VOLUNTA
          EARNING             INCOME -      E-                      IN STATE - INSURAN                         DEDUCTI DEDUCTI                DEDUCTI DEDUCTI DEDUCTI DEDUCTI                    DEDUCTI             MEMO : G- MEMO : H-    KA-ER    MAX         TOTAL
EARNING             EARNING                           Y - EMPLOYE                         EMPLOYE DEDUCTI                          DEDUCTI                                             DEDUCTI                   RY
             S : V-           EMPLOYE EMPLOYE                       EMPLOYE          CE -                       ON : FS- ON : HI-              ON : L1- ON : LIF- ON : MED- ON : NJI-            ON : VIS-               GTL HRS*WRK         401K ELIG/CO       MEMOS
  S : SK-                   S                   EMPLOYE      E TAX                           E TAX ON : DNT-                        ON : K1-                                            ON : P-             DEDUCTI
          VACATIO                E TAX   E TAX                          E TAX EMPLOYE                               FSA  HAWAII                  401K     SUPP.        S125  NJ VOL                  S125                                  MATCH       MP
    SICK                                           E TAX                                             DENTAL                         EE 401K                                           PARKING                   ONS
                 N                                                                 E TAX                      MEDICAL MED INS                  LOAN 1 LIFE INS. MEDICAL PLAN DI                   VISION
                     2,492.40    246.72   34.13    145.91     27.89      65.44               520.09      3.09                        398.78                         164.32                            0.46    566.65    28.82     67.00              2,492.40   2,588.22

                      1,422.02   105.06     20.62     88.16       7.11     90.11              311.06                                                                                                                              66.08              1,422.02   1,488.10

                      3,653.85   503.04     51.03    218.22                                   772.29      3.09                        328.85                         139.68                          0.46    472.08      8.94     88.00              3,653.85   3,750.79

                      1,349.87    68.45     19.58     83.69      16.20     11.22              199.14                                   67.49                                                                  67.49               66.17      33.75   1,349.87   1,449.79

                      1,526.00    97.39     19.69     84.21      16.30     30.28              247.87      3.09                                                       164.32                          0.46    167.87               76.50              1,526.00   1,602.50

                      2,755.02   263.07     37.51    160.40                33.63              494.61      3.09                                                       164.32                          0.46    167.87               79.00              2,255.02   2,334.02

                       515.27     33.26      7.47     31.95                                    72.68                                                                                                                              33.25               515.27     548.52

                      1,274.86     4.13     15.52     66.36                                    86.01      6.00                         63.74                         197.56                          0.87    268.17               68.50      31.87   1,274.86   1,375.23

                      1,815.85    75.28     24.91    106.53                                   206.72      3.09                                                        94.08                          0.46     97.63               77.25              1,815.85   1,893.10

                      2,145.66    94.09     28.65    122.47      23.70     17.33              286.24      6.00                        429.13                         164.32                                  599.45               82.92              2,145.66   2,228.58

                       424.95                6.16     26.34       5.10                         37.60                                                                                                                              28.33               424.95     453.28

                      3,653.85   307.31     53.01    226.66       1.20    191.70     18.67    798.55                                                                                                                     2.08     88.00              3,653.85   3,743.93

                      4,423.08   402.14     62.13    265.63      51.36    282.52             1,063.78     3.09                                                       139.68                          0.46    143.23      4.50     88.00              4,423.08   4,515.58

                      2,692.31   127.96     36.77    157.25                                   321.98      3.09                       1,076.92                        164.32                          0.46   1,244.79    11.72     88.00              2,692.31   2,792.03

             100.00   1,959.37    38.00     25.69    109.85                69.62              243.16      3.09                                                        94.08               90.00      0.46    187.63      0.10     76.92              1,959.37   2,036.39

                       777.00     37.85     11.21     47.95                                    97.01      3.09                         77.70                                                         0.46     81.25               37.00               777.00     814.00

                      1,313.43    92.03     19.04     81.43      15.77     28.31              236.58                                                                                                                              74.33              1,313.43   1,387.76

                      1,196.48     2.84     11.87     50.75       9.83      0.11               75.40      6.00                        155.54                         371.07                          0.87    533.48               67.83              1,196.48   1,264.31

                      1,630.16   118.32     22.22     95.01       1.20     65.44      8.33    310.52      3.09                                                        94.08                          0.46     97.63               69.25              1,630.16   1,699.41

                      4,142.15   516.79     55.53    237.42                                   809.74      7.20                        414.22    171.61      11.22    310.17                          0.92    915.34      5.36     70.83              4,142.15   4,218.34

                       665.84                9.65     41.28                                    50.93                                                                                                                              41.83               665.84     707.67

                      1,314.00    92.09     19.05     81.47                                   192.61                                                                                                                              73.00              1,314.00   1,387.00

                      1,180.03   103.99     15.70     67.11                                   186.80      3.09                                                        94.08                          0.46     97.63               67.00              1,180.03   1,247.03

             200.00   2,254.97   212.60     30.36    129.84                92.15              464.95      3.09                        225.50                         164.32                          0.46    393.37      7.20     71.08              2,254.97   2,333.25

                      1,472.22              21.34     91.27      17.66      6.15              136.42                                  736.11                                                                 736.11               69.75              1,472.22   1,541.97

                      1,672.00   141.18     22.82     97.61                35.36      4.68    301.65      3.09                         16.72                          94.08      7.86                0.46    122.21               80.00       8.36   1,672.00   1,760.36

                      2,187.22   190.00     30.30    129.56       1.20     96.40     11.18    458.64      3.09                                                        94.08                          0.46     97.63      0.12     71.33              2,187.22   2,258.67

                      3,461.54   470.35     48.80    208.67               166.51              894.33      3.09                                                        94.08                          0.46     97.63      1.66      8.00              3,461.54   3,471.20

                       824.83     34.22     11.96     51.14       1.20     23.41      4.21    126.14                                                                                                                              35.00               824.83     859.83

                      1,364.94    98.21     19.79     84.63       1.20     55.44      6.97    266.24                                                                                                                              75.83              1,364.94   1,440.77

                       726.20     24.35     10.53     45.03                                    79.91                                                                                                                              34.17               726.20     760.37

                      2,494.01   132.32     31.84    136.12      26.35     45.43              372.06     10.11                                                       286.93                          1.35    298.39               81.17              2,494.01   2,575.18

                      3,846.15   390.78     55.85    238.79                                   685.42                                                                                                                     5.30     88.00              3,846.15   3,939.45

                      3,985.26   449.78     53.75    229.81                92.77              826.11      7.20    105.77              270.82                         164.72                          0.92    549.43               88.00              3,385.26   3,473.26

                      2,884.62   119.82     37.60    160.74      31.05     39.17              388.38     10.11                                                       286.93                                  297.04      4.94     88.00              2,884.62   2,977.56

                       614.21     13.15      9.06     38.73       7.37      0.60               68.91                                                                                                                    10.46     20.92               614.21     645.59

                      3,730.77   615.52     53.31    227.98      11.02    254.18             1,162.01                        55.96                                                                            55.96      2.16     88.00              3,730.77   3,820.93

                      1,722.82   181.29     24.93    106.60                                   312.82      3.09                                                                                       0.46       3.55              73.33              1,722.82   1,796.15

                      2,372.24   288.01     32.46    138.79      26.46     89.19              574.91      3.09                                                       164.32                          0.46    167.87     34.32     69.75              2,372.24   2,476.31

                      3,565.65   566.02     50.41    215.55               160.37      9.99   1,002.34     3.09                                              17.12     94.08     16.76                0.46    131.51      8.54     88.00              3,565.65   3,662.19



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                   1,958.30   265.46   26.53   113.44     21.48     68.59            495.50     3.09                    195.83                       164.32          0.46    363.70     39.22   74.25            1,958.30   2,071.77

                   1,345.53   123.91   18.10    77.40                                219.41     3.09                                                  94.08                   97.17             74.08            1,345.53   1,419.61

         513.92    1,768.44   144.51   25.65   109.64     21.23     53.89            354.92                              17.68                                                17.68             72.61     8.84   1,768.44   1,849.89

                   1,148.83    56.47   16.66    71.23                                144.36                             114.88                                               114.88             54.75    57.44   1,148.83   1,261.02

 43.50             1,166.22    35.02   16.82    71.90                                123.74     6.00                    174.93                                       0.46    181.39             65.08            1,166.22   1,231.30

                    246.30      9.44    3.57    15.27                5.77             34.05                                                                                                     16.42             246.30     262.72

                   5,486.00   425.23   81.85   350.00     65.83    212.07           1,134.98                            274.30                                               274.30    159.26   73.83            5,486.00   5,719.09

                   3,212.08   255.15   44.29   189.39              139.40            628.23     3.09                    321.21                       164.32          0.46    489.08     10.36   88.00            3,212.08   3,310.44

         160.00    1,813.50   164.20   25.36   108.47     20.99     48.57            367.59     3.09                                                  60.41          0.46     63.96             80.75            1,813.50   1,894.25

                    454.74              6.59    28.19       5.45                      40.23                                                                                                     22.92             454.74     477.66

                                                         -197.30            -2.86     -12.23                                       -15.09

                                                         197.30              2.86     12.23                                        15.09

                                                         -543.40    -6.07   -7.88     -33.69                                       -47.64

                                                         543.40      6.07    7.88     33.69                                        47.64

         -290.92                                        3,923.00   502.65   54.87    234.60    41.31   174.21                    1,007.64                     3.09           627.68                     164.32

                                                        1,080.00    61.93   15.66     66.96     5.40    64.01                     213.96

                                                        3,653.85   494.60   51.03    218.21                                       763.84                      3.09           328.85                     139.68

                                                        1,995.00   139.91   29.00    123.98    21.95    44.34                     359.18                                      99.75

                                                        1,159.38    51.31   14.38     61.47    10.91    13.80                     151.87                      3.09                                      164.32

                              300.00                    1,974.07   129.23   26.19    111.98             23.48                     290.88                      3.09                                      164.32

                                                         659.80     46.17    9.57     40.91                                        96.65

                                                        1,317.06     5.06   16.13     68.98                                        90.17                      6.00            65.85                     197.56

                    157.50                              1,790.80    69.70   24.55    104.98                                       199.23                      3.09                                       94.08

                                                        2,584.16   131.99   35.00    149.66    26.55    24.58                     367.78                      6.00           516.83                     164.32

                                                         312.45              4.53     19.37     3.44                               27.34

                                                        3,653.85   303.12   53.01    226.67     1.20   188.63   18.67             791.30

                                                        4,423.08   385.26   62.12    265.63    47.08   275.72                    1,035.81                     3.09                                      139.68

                                                        2,692.31   125.88   36.77    157.24                                       319.89    152.20            3.09          1,076.92                    164.32

                                                        1,452.37            18.34     78.42             44.14                     140.90                      3.09                                       94.08                90.00

                                               294.00    696.57     29.07   10.05     42.97                                        82.09                      3.09            69.66

                                                        2,192.24   204.14   31.79    135.92    24.11    83.51                     479.47

                                       45.00            1,168.38            11.46     49.01     8.69                               69.16                      6.00           151.89                     371.07

                                                        1,707.82   125.55   23.35     99.83     1.20    69.35    8.73             328.01                      3.09                                       94.08

                                                         825.88     32.78   11.98     51.20     9.08     1.59                     106.63

                                                         161.03              2.33       9.98                                       12.31

                                                        1,962.08   167.78   28.45    121.65                                       317.88

                               50.75                    1,251.18   110.45   16.73     71.52                                       198.70                      3.09                                       94.08

                                               300.00   1,521.98   116.25   19.84     84.81             59.49                     280.39                      3.09           152.20                     164.32

                                                        1,294.72            18.77     80.27    14.24     5.09                     118.37                                     647.36

                                                        1,672.00   139.09   22.83     97.61             35.36    2.34     7.11    304.34               4.18   3.09            16.72                      94.08       2.34

                                                        2,665.52   286.78   37.24    159.22     1.20   123.13   13.62             621.19                      3.09                                       94.08

                                                        3,461.54   461.90   48.80    208.67            166.51                     885.88                      3.09                                       94.08

                                                         128.40              1.86       7.96                                         9.82




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                                                       1,717.84     138.47     24.91   106.51                                     269.89

                                                         851.05      74.15     12.34    52.77    9.36    10.71                    159.33

                                                       1,528.03     115.69     22.16    94.74    1.20    64.54   7.81             306.14

                                                         742.98      24.49     10.77    46.06                                      81.32

                                                       1,962.96      66.84     24.14   103.20   18.31    24.68                    237.17                    10.11                            286.93

                                                       3,846.15     378.82     55.85   238.79                                     673.46

                                                       4,125.03     492.90     57.31   245.04            99.10                    894.35                     7.20           282.00           164.72

                                                       2,884.62     115.63     37.66   161.02   28.46    35.91                    378.68                    10.11                            286.93

                                                       2,797.08     223.30     40.57   173.48                                     437.35

                                                         783.03      28.50     11.51    49.20    8.61     3.75                    101.57

                                                       3,730.77     604.71     53.32   227.97   12.00   254.18                   1,152.18                           55.96

                                                         869.18      75.90     12.55    53.67                                     142.12     38.81           3.09

          -166.73                                      1,211.62      97.27     15.63    66.84   11.48    15.15                    206.37                     3.09                            164.32

                                                         262.50      31.50      4.31    18.40    2.89    11.55                     68.65

                                                       3,565.65     557.58     50.41   215.55           160.37   4.99    15.15   1,004.05            8.91    3.09                    17.12    94.08   4.99

                             375.00   42.00            2,704.37     430.08     39.78   170.10   29.75   129.78                    799.49                                    270.44

                                                       1,987.95     210.58     27.42   117.23                                     355.23     39.65           3.09                             94.08

                                                       1,088.55      47.97     15.78    67.49                                     131.24     38.48                          108.86

                              50.75                    1,137.52      29.51     16.40    70.13                                     116.04                     6.00           170.63

                                                       4,152.50     238.81     62.52   267.33   45.68    87.95                    702.29     50.85                          207.63

                                                       3,212.08     250.95     44.29   189.38           139.40                    624.02     32.72           3.09           321.21           164.32

                                              150.00   1,900.64     172.58     26.63   113.87   20.20    51.40                    384.68                     3.09                             60.41

                                                         664.01      16.60      9.63    41.17    7.30                              74.70

                                                         336.16                 4.88    20.84                                      25.72

                                                         138.36                 2.00     8.58    1.66                              12.24

                                                         142.50                 2.27     9.74                                      12.01

                                                       -1,394.52    -101.76   -20.22   -86.46   -1.20   -57.20   -7.13            -273.97

                                                        -824.83      -34.22   -11.96   -51.14   -1.20   -23.41   -4.21            -126.14

                                                       1,394.52     101.76     20.22    86.46    1.20    57.20   7.13             273.97

                                                         824.83      34.22     11.96    51.14    1.20    23.41   4.21             126.14

                                                        -630.00      -14.73    -9.14   -39.06   -1.20   -13.91   -3.22             -81.26

          -290.92                                      1,732.26     148.57     23.10    98.78   18.78    27.16                    316.39                     3.09           277.16           164.32

                                                       1,257.52      85.32     18.24    77.97    6.29    77.50                    265.32

 328.14                                                7,518.15    1,363.69   107.07   457.80                                    1,928.56   328.14           3.09           328.85           139.68

                                                       2,034.76     146.53     29.57   126.45   24.41    50.20                    377.16                                    101.74

                                                       1,597.48     105.97     20.73    88.63   17.15    33.42                    265.90                     3.09                            164.32

                                                       3,001.95     317.40     41.09   175.71            36.84                    571.04                     3.09                            164.32

                                                         497.78      31.51      7.22    30.86                                      69.59

 502.02             105.00                             1,770.46        3.52    22.71    97.10                                     123.33    502.02           6.00            63.42           197.56

                                                         360.41      36.04      5.23    22.35                                      63.62

                    157.50                             1,364.58      30.16     18.37    78.55                                     127.08                     3.09                             94.08

                             200.00                    2,008.92      80.96     26.66   113.99   22.06    14.92                    258.59                     6.00           401.78           164.32

                                                         458.79                 6.66    28.45    5.51                              40.62



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 960.10                                                        7,339.61    864.06    106.46    455.19      1.20    396.24    32.26   1,855.41    960.10

                                                               6,786.68    922.13     96.39    412.17     79.72    524.32            2,034.73               3.09                                                139.68

                                                               4,135.89    402.71     57.71    246.74                                 707.16                3.09                    1,076.92                    164.32

                                                     400.00    2,191.26     76.63     30.36    129.82               85.55             322.36                3.09                                                 94.08

                                105.00               210.00    1,090.32     71.59     15.76     67.38                                 154.73                3.09                     109.03

                                                               1,481.95    112.25     21.49     91.88     17.78     36.15             279.55

                                                               1,346.11     15.86     14.04     60.03     11.61       1.54            103.08                6.00                     174.99                     371.07

                                126.00                         1,568.67    110.94     21.33     91.21      1.20     61.77     8.02    294.47                3.09                                                 94.08

                       25.00                         275.00    3,903.21    469.48     52.06    222.59                                 744.13                7.20                     390.32    171.61   11.22   310.17

                                                                446.29                 6.47     27.67                                  34.14

                                                               1,636.67    130.81     23.73    101.48                                 256.02

                                                     101.50    1,118.02     96.55     14.80     63.26                                 174.61                3.09                                                 94.08

                                                     400.00    1,914.13    160.69     25.43    108.72               76.97             371.81                3.09                     191.41                     164.32

                                                                262.77                 4.03     17.20                                  21.23

                                                               1,255.33               18.21     77.83     15.07       4.96            116.07                                         627.67

                                                               1,672.00    141.18     22.83     97.61               35.36     4.68    301.66                3.09                      16.72                      94.08    7.86

                                                     116.00    2,128.25    178.09     29.45    125.90      1.20     92.88    10.88    438.40                3.09                                                 94.08

                                                               3,461.54    470.35     48.80    208.66              166.51             894.32                3.09                                                 94.08

                                                                197.30                 2.86     12.23                                  15.09

                                                                300.41      14.85      4.36     18.62      3.61                        41.44

           -630.00                                              683.76      20.11      9.92     42.39      1.20     16.33     3.49     93.44

                                                                585.64      10.30      8.50     36.31                                  55.11

                                                               1,271.80       0.80    14.11     60.36     11.68       9.97             96.92               10.11                                                286.93

1,981.13                                                       5,827.28    390.78     84.57    361.62                                 836.97    1,981.13

                                                               2,931.13    236.43     38.46    164.46               66.58             505.93                7.20   105.75            186.49                     164.72

1,003.17                                                       7,438.75    701.90    103.62    443.09     73.66    333.08            1,655.35   1,003.17   10.11                                                286.93

                                                                295.95                 4.44     19.00      3.55                        26.99

                                                               3,730.77    615.52     53.32    227.97     11.02    254.18            1,162.01                               55.96

                                                               1,453.53    148.10     21.03     89.90                                 259.03                3.09

           -166.73                                              930.92      65.67     11.56     49.44      9.15       9.12            144.94                3.09                                                164.32

                                                               3,565.65    566.02     50.41    215.54              160.37     9.98   1,002.32               3.09                                        17.12    94.08   16.76

                                                               2,587.13    378.37     35.64    152.43     29.03    110.33             705.80                3.09                     258.71                     164.32

                                196.00                         1,096.21     93.99     14.49     61.94                                 170.42                3.09                                                 94.08

                                                                849.06      29.49     12.31     52.64                                  94.44                                          84.91

                                                               1,077.69     27.50     15.53     66.42                                 109.45                6.00                     161.65

                     2,250.00            13,750.00            18,802.10   3,946.28   274.94   1,175.61   119.93   1,588.03           7,104.79                                        140.11

                                                               3,996.56    349.28     55.67    238.02              179.41             822.38                3.09                     321.21                     164.32

                                                               1,693.36    149.79     23.63    101.03     19.55     40.64             334.64                3.09                                                 60.41

                                                                507.28        2.46     7.36     31.45      6.09                        47.36

1,977.80                                                       1,977.80               28.85    123.35                                 152.20    1,825.60

                                                                543.40        6.07     7.88     33.69                                  47.64

 507.40                                                         507.40                 7.35     31.46                                  38.81     468.59

 518.29                                                         518.29                 7.52     32.13                                  39.65     478.64



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 503.02              503.02     7.29   31.19                   38.48    464.54

1,476.00            1,476.00   23.71   27.14                   50.85   1,425.15

 410.47              410.47     6.10   26.09       0.53        32.72    377.75




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 1                            PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 2818 La Cienega Avenue, Las Angeles, CA 90034
 3
     A true and correct copy of the foregoing document entitled EMERGENCY MOTION FOR ORDER
 4
     AUTHORIZING DEBTOR TO (I) PAY PREPETITION PRIORITY WAGES,
 5   COMMISSIONS, AND BONUSES; AND (II) HONOR ACCURED VACATION AND
     LEAVE BENEFIT IN THE ORDINARY COURSE OF BUSINESS; MEMORANDUM OF
 6   POINTS AND AUTHORITIES will be served or was served (a) on the judge in chambers in the
     form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On January 18, 2022, I checked the CM/ECF docket for this bankruptcy case
 9   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
     to receive NEF transmission at the email addresses stated below:
10
                                                                Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL: On January 18, 2022, I served the following persons and/or
12   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
     and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
     addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
13   completed no later than 24 hours after the document is filed.
                                                                Service information continued on attached page
14
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
15   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
     January 18, 2022, I served the following persons and/or entities by personal delivery, overnight mail
16   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
17   mail to, the judge will be completed no later than 24 hours after the document is filed.

18   Via Overnight Mail
     The Honorable Sheri Bluebond                               By email to:
19   United States Bankruptcy Court                             - Eden Roc International, LLC
     Central District of California                             - Escada Sourcing and Production LLC
20   Edward R. Roybal Federal Building and Courthouse           - Mega International, LLC
     255 E. Temple Street, Suite 1534 / Courtroom 1539
21   Los Angeles, CA 90012

22                                                              Service information continued on attached page

23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
     and correct.
24
      January 18, 2022              Jason Klassi                        /s/ Jason Klassi
25    Date                            Type Name                         Signature

26

27

28


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 1   2:22-bk-10266 Notice will be electronically mailed to:

 2   John-Patrick M Fritz on behalf of Debtor Escada America, LLC
     jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 3
     United States Trustee (LA)
 4   ustpregion16.la.ecf@usdoj.gov

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  Escada 9277
  20 Largest




717 GFC LLC                           Beverly Hills Wilshire Hotel                 SAMSON MANAGEMENT CORP.
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